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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS

In re:

JEAN BANKS,                                      Chapter 7
         Debtor.                                 Case No. 19-10737-FJB



                  MOTION FOR RELIEF FROM AUTOMATIC STAY
                 AND FOR AUTHORITY TO FORECLOSE MORTGAGE

         NOW COMES Nationstar Mortgage LLC d/b/a Mr. Cooper (hereinafter “Movant”), a
secured creditor, by and through undersigned counsel, and hereby moves this Honorable Court
for relief from the automatic stay and for authority to foreclose a certain mortgage encumbering
the property owned by Jean Banks (hereinafter “Debtor”) known and numbered as 68 Yale
Street, Springfield, Massachusetts 01109 (hereinafter the “Property”), pursuant to Bankruptcy
Rules 4001 and 9014 and Section 362 of the Bankruptcy Code.
In support of this Motion, Movant states as follows:
1. This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1334 and 28 U.S.C.
    § 157(b)(2)(G). This case relates to a case under Title 11 of the United States Code (the
    “Bankruptcy Code”). This proceeding is a “core” proceeding as this term is defined in the
    Bankruptcy Code.
2. On March 7, 2019, Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy
    Code.
3. Movant is the current holder of a certain note given by Debtor to Bank of America, N.A. in
    the original principal amount of $130,100.00, dated March 12, 2010 (hereinafter the “Note”).
    The Note is secured by a first position mortgage given by Debtor and Ydeline Hilaire to
    Bank of America, N.A. of even date and original principal amount, recorded with the
    Hampden County Registry of Deeds in Book 18229, Page 136 (hereinafter the “Mortgage”).
    Movant is the holder of the Mortgage via Assignment of Mortgage recorded with said
    Registry of Deeds in Book 19850, Page 17.
4. The Mortgage encumbers the Property. Copies of the Note, Mortgage, and Assignment are
    annexed hereto and marked as Exhibits “A”, “B”, and “C.” The Mortgage is in first position.
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   Aside from the Mortgage, there is no other collateral securing the obligation of Debtor under
   the Note.
5. Debtor has defaulted on the Note and Mortgage by failing to make regular monthly mortgage
   payments to Movant.
6. As of March 11, 2019, the balance due Movant on the Note was approximately $121,512.87.
   The full amount of Movant’s claim together with allowable interest, reasonable attorneys’
   fees, court costs, and other recoverable expenses, is secured by the Mortgage.
7. The fair market value of the Property is $114,000.00 according to Debtor’s Schedule A.
   Based upon this valuation, it is Movant’s opinion that the Liquidation Value of the premises
   is $107,280.16 (calculated as the fair market value less a reasonable realtor’s fee of 5%
   ($5,700.00) deed stamps ($519.84), and anticipated costs incurred for a real estate closing
   ($500.00)).
8. As of the filing of this Motion, Debtor owes Movant a total contractual arrearage of
   $12,722.86, calculated as follows:
   4 monthly payments (6/1/2018-9/1/2018) at $1,343.14                    $5,372.56
   4 monthly payments (10/1/2018-1/1/2019) at $1,226.67                   $4,906.68
   2 monthly payments (2/1/2019-3/1/2019) at $1,221.81                    $2,443.62
   Total Contractual Arrearage                                            $12,722.86
9. By the time of the hearing on this Motion, it is anticipated that the April 1, 2019, monthly
   mortgage payment ($1,221.81) will also be due and outstanding. In addition, legal fees and
   costs in the amount of $931.00 have been incurred in preparing and filing this motion,
   bringing the total contractual arrears to $14,875.67.
10. There are encumbrances upon the Property as follows:
       Lien Type       Lien Holder                         Lien Amount              Book/Page
       1st Mortgage    Movant                              $121,512.87              18229/136
       Tax Taking      City of Springfield                 $298.35                  20232/252

11. A Declaration of Homestead with respect to the Property has been recorded at said Registry
   at Book 15978, Page 339.
12. Movant is entitled to Relief from the Automatic Stay for cause pursuant to 11 U.S.C. §
   362(d)(1) inasmuch as the Debtor has failed to make regular monthly mortgage payments to
   Movant as set forth herein in contravention of the terms of the Note and Mortgage.
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13. Movant is entitled to Relief from the Automatic Stay pursuant to 11 U.S.C. § 362(d)(2) in
   that Debtor has no equity in the Property above and beyond the Property’s liquidation value
   and as this is a Chapter 7 case, the Property is not necessary to an effective reorganization of
   the Debtor’s estate.
14. No prior application for the relief requested herein has been made.
   WHEREFORE Movant respectfully requests that this Honorable Court:
       a) Grant the Motion for Relief from the Automatic Stay, and for leave to Foreclose
           Mortgage, allowing Movant, its successors or assigns, to foreclose said mortgage
           (including, at its sole option, leave to accept a deed-in-lieu of foreclosure from the
           Debtor, her heirs, successors, assigns or transferees); and for it or a third party
           purchaser to prosecute summary process proceedings to evict any persons residing in
           the Property; and
       b) Grant such other Relief as this Honorable Court may deem just and proper.




                                                     Respectfully submitted,
                                                     Nationstar Mortgage LLC d/b/a Mr. Cooper
                                                     By its Attorneys,
                                                     Guaetta & Benson, LLC

DATED: March 15, 2019                                /s/ Megan O’Keefe Manzo
                                                     Megan O’Keefe Manzo, Esq.; BBO#652522
                                                     P.O. Box 519, Chelmsford, MA 01824
                                                      (978) 250-0999 – Tel
                                                      (978) 250-4979 – Fax
                                                     bankruptcy@guaettalaw.com
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re:

JEAN BANKS,                                        Chapter 7
         Debtor.                                   Case No. 19-10737-FJB



                  ORDER GRANTING RELIEF FROM AUTOMATIC
                STAY AND AUTHORITY TO FORECLOSE MORTGAGE

This case having come before the undersigned United States Bankruptcy Judge for the District of
Massachusetts, upon the request of Nationstar Mortgage LLC d/b/a Mr. Cooper, its successors or
assigns (hereinafter “Movant”) for Relief from the Automatic Stay and For Leave to Foreclose
its Mortgage; and no objection having been filed, or after a hearing thereon, as the case may be,
and after proper notice was given;

WHEREFORE, the Court grants Relief from the Automatic Stay to Movant, and its successors or
assigns, to seek to foreclose a certain mortgage on property known and numbered as 68 Yale
Street, Springfield, Massachusetts 01109, recorded with the Hampden County Registry of Deeds
in Book 18229, Page 136, by entry and by exercise of the power of sale contained in the
mortgage.

NOW THEREFORE, it is hereby ORDERED, ADJUDGED AND DECREED that Movant, its
successors or assigns, are granted Relief from the Automatic Stay to seek to foreclose the
mortgage (including, at is sole option, accepting a deed-in-lieu of foreclosure from the Debtor,
her heirs, successors, transferees or assigns or offering, providing and entering into any potential
forbearance agreement, loan modification, or other loan workout with the Debtor) recorded with
the Hampden County Registry of Deeds in Book 18229, Page 136, by entry and by exercise of
the power of sale contained in the mortgage and leave to seek to proceed with summary process
proceedings to evict any persons residing in the Property, in accordance with applicable state and
federal law.

Dated this ___day of _________________, 20___ at the United States Bankruptcy Court.



                                                     _______________________________
                                                     Hon. Frank J. Bailey
                                                     United States Bankruptcy Court Judge
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                          UNITED STATES BANKRUPTCY COURT
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                                CERTIFICATE OF SERVICE

       I, Megan O’Keefe Manzo, as Attorney for Nationstar Mortgage LLC d/b/a Mr. Cooper,
hereby certify that I have served this day copies of the foregoing Motion for Relief from
Automatic Stay and Authority to Foreclose Mortgage in reference to the above-captioned case,
by mailing same first class, postage prepaid (unless otherwise noted), upon the following parties:

Debtor
Jean Banks
18 Peabody Street No. 3
Salem, MA 01970

Co-Mortgagor
Ydeline Hilaire
68 Yale Street
Springfield, MA 01109

Counsel for Debtor
Michael J. Splaine, Esq. (VIA ECF)

Trustee
Lynne F. Riley, Esq. (VIA ECF)

Assistant U.S. Trustee
John Fitzgerald, Esq. (VIA ECF)

City of Springfield
Office of the Tax Collector
City Hall Room 112, 36 Court Street
Springfield, MA 01103


DATED: March 15, 2019                 /s/ Megan O’Keefe Manzo
                                      Megan O’Keefe Manzo, Esq. (BBO# 652522)
